         Case 1:21-cr-00623-CRC Document 118 Filed 05/15/23 Page 1 of 8




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :
                                              :      Case No. 1:21-cr-623-2 (CRC)
KIRSTYN NIEMELA,                              :
                                              :
               Defendant.                     :

                   GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                   MOTION TO POSTPONE SENTENCING HEARING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes Defendant Kirstyn Niemela’s Motion to Postpone

Sentencing Hearing, ECF No. 117 (“Def.’s Mot.”). Niemela’s motion is misleading and

unsupported by authority at best and frivolous at worst. In sum, Niemela argues that her

sentencing, which is scheduled for May 31, 2023, should be postponed because: (1) the Court

never properly acquired jurisdiction over her and thus the case should be dismissed, despite the

fact that she was indicted by a grand jury and convicted by a trial jury; (2) she was not afforded

notice of the government’s pre-trial motions in limine or an opportunity to respond to them, even

though she was never without counsel and the motions were served on her counsel four months

before trial; and (3) three months has not been enough time for her current counsel to prepare for

sentencing in this misdemeanor case. See id. None of these things are true. The Court should

deny Niemela’s motion accordingly.

I.     The Court Properly Exercised Its Jurisdiction in This Case.

       Niemela argues that despite the jury’s guilty verdicts, her case should be dismissed

because the Court never acquired jurisdiction over her. See id. at 4-7. Niemela bases this

extraordinary claim on her assertion that the affidavit supporting the Complaint in a different
         Case 1:21-cr-00623-CRC Document 118 Filed 05/15/23 Page 2 of 8




case in front of a different Court that has since been dismissed fails to allege sufficient facts to

charge her. See id. Charitably, Niemela’s argument appears to stem from her misunderstanding

of the docket and/or conflating the charges in this case, United States v. Eckerman, et al., 21-cr-

623 (CRC), with the since-dismissed charges against her in United States v. Niemela, et al., 1:22-

cr-25 (APM).

       A summary of the history of the United States’ prosecution of Niemela is as follows. On

January 14, 2022, United States Magistrate Judge G. Michael Harvey found that the affidavit

submitted by the government established probable cause to charge Niemela and co-defendant

Stefanie Chiguer by Complaint with four misdemeanor crimes in United States v. Niemela, et al.,

1:22-cr-25 (APM). See id., ECF No. 1. Five days later, on January 19, 2022, the United States

Attorney charged Niemela by Information, replacing the Complaint as the relevant charging

instrument. On April 7, 2022, Chiguer pleaded guilty via plea agreement. See id., ECF No. 36.

       Separately, on April 27, 2022—i.e., approximately three weeks after Chiguer’s guilty

plea—a grand jury sitting in this District indicted Niemela on the same four misdemeanor

charges in this case, United States v. Eckerman, et al., 21-cr-623 (CRC). Id., ECF No. 24. It is

these four misdemeanor charges—not the dismissed charges from the Complaint and

Information in United States v. Niemela, et al., 1:22-cr-25 (APM)—on which Niemela went to

trial and was convicted. See Eckerman, ECF Nos. 24, 95. Thereafter, on May 16, 2022, Judge

Mehta granted the government’s motion to dismiss all remaining charges against Niemela in the

original case. See id., ECF No. 37-38.

       Niemela’s arguments about the alleged deficiencies in the Complaint from her previous

case before Judge Mehta are thus completely irrelevant to this case. This Court acquired

jurisdiction over Niemela via the grand jury’s indictment. Niemela has never challenged the
           Case 1:21-cr-00623-CRC Document 118 Filed 05/15/23 Page 3 of 8




sufficiency of that indictment and does not do so in the instant motion. She has thus provided no

grounds, let alone authority, to postpone sentencing based on the manner in which she was

charged.

   II.      Niemela and Her Prior Counsel Received the Government’s Motions in Limine
            Soon After They Were Filed and Had Months to Oppose Them.

         Niemela also argues that she never received five of the government’s motions—i.e., ECF

Nos. 44-49—and thus could not respond to them, was deprived of her constitutional due process

rights, and should have her sentencing continued to provide time for her new counsel to make

further filings. See Def.’s Mot. at 1-4. Niemela claims that the government filed those five

motions “during the two months that Ms. Niemela was representing herself pro se” and did not

provide her with copies. See id. The docket shows that her argument fails because it is based on

misunderstandings or misrepresentations concerning the history of this case. Niemela did not

represent herself pro se between August 10, 2022 and October 7, 2022, as she claims. Moreover,

Niemela’s counsel received the government’s motions at most a week after they were filed, had

three-and-a-half months to respond to them, and declined to oppose them.

         The timeline of Niemela’s representation in this case is as follows. On May 27, 2022

(four days before Niemela’s arraignment), court-appointed counsel Kira West entered her

appearance on behalf of Niemela. On July 13, 2022, Ms. West moved to withdraw, citing

irreconcilable differences with her client. See ECF No. 31. On August 10, 2022, the Court held

a video status conference in which Ms. West’s motion was granted. Aug. 10, 2022 Minute

Order. During this hearing, as the Court may recall, the Defendant indicated that she had

decided against representing herself pro se and therefore requested new counsel be appointed for

her. Accordingly, the Court directed Ms. West to transfer the discovery she had received from

the government to the Federal Public Defender’s Office in Washington, D.C., which would
           Case 1:21-cr-00623-CRC Document 118 Filed 05/15/23 Page 4 of 8




search for an attorney available to represent the Defendant at the then-scheduled trial date of

November 28, 2022. See id. That same day, Ms. West emailed the parties and Chambers to

notify them that Jeff Levin of the Federal Public Defender’s Office in New Hampshire would be

taking over Ms. Niemela’s representation. 1 See Attachment A.

       Approximately a month later, on September 6, 2022, the Court held a video status

conference in which A.J. Kramer, the Federal Public Defender of D.C., stood in as counsel for

Ms. Niemela and notified the Court that he was still working on finding court-appointed counsel

that could make the November 28, 2022 trial date work. See Sept. 6, 2022 Minute Entry. Three

weeks later, on September 28, 2022—the day before the government filed the motions Niemela

complains about—the Court held another video status conference in which Rick Monteith, a CJA

attorney arranged by Mr. Kramer, appeared on behalf of Ms. Niemela. Sept. 28, 2022 Minute

Entry. During this hearing, Mr. Monteith advised that he was working on obtaining his

admission to the District for the District of Columbia pro hac vice and would file his formal

Notice of Appearance as soon as that was done. He further advised that his partner Rick Garrity

would also be representing Ms. Niemela, but that they could not make the November 28 trial

date work due to a conflict and because they had not yet received the discovery file from prior

counsel.

       Accordingly, the government filed an Unopposed Motion to Exclude Time Under the

Speedy Trial Act, ECF No. 42, to allow Mr. Monteith and Mr. Garrity time to review discovery,

file pretrial motions as appropriate, and engage in discussions with the government regarding a

potential reverse proffer and/or renewed plea offer. The Court granted the motion in a




1
  As the subsequent proceedings show, however, Mr. Levin did not take on Niemela’s
representation because his schedule could not accommodate the trial date.
         Case 1:21-cr-00623-CRC Document 118 Filed 05/15/23 Page 5 of 8




September 30, 2022 Minute Order, excluding time between September 28 and November 28,

2022.

        On September 29, 2022—i.e., the day after Mr. Monteith appeared on Ms. Niemela’s

behalf in open court—the government filed four of the motions in limine referenced by Niemela

in the instant motion. See Def.’s Mot. at 2-3 (citing ECF Nos. 44-47). The government filed one

additional motion in limine on September 30, 2022. See ECF No. 48. In an abundance of

caution and recognizing Mssrs. Monteith and Garrity’s court admission and related ECF issues,

the government sent courtesy copies of its recently-filed motions to them via email on October 5,

2022. See Attachment B.

        Another video status conference was held with Mssrs. Monteith and Garrity on October

6, 2022, and Mr. Monteith filed his formal Notice of Appearance the next day. 2 ECF No. 50.

On November 2, 2022, Mssrs. Monteith and Garrity filed a motion to continue the trial and

pretrial deadlines, ECF No. 55, which the Court granted via a November 4, 2022 Minute Order.

Trial was reset for January 23, 2023. The parties thereafter submitted a Joint Status Report and

Proposed Pretrial Schedule, ECF No. 60, on November 22, 2022, and defense counsel filed two

motions in limine, ECF Nos. 63-64, and a motion to change venue, ECF No. 65, on December 6,

2022, pursuant to the Court’s revised pretrial motions schedule. 3

        As the above timeline makes clear, the Defendant’s prior counsel received the

government’s motions in limine while they were representing the Defendant and had more than

sufficient time—at least three-and-a-half months, between receiving them by email on October 5,

2022 and the January 23, 2023 trial date—to respond to them as they deemed appropriate in the



2
 Mr. Garrity filed his formal Notice of Appearance on October 26, 2022. ECF No. 54.
3
 The Court’s revised pretrial scheduled order also provided for defense counsel to respond to the
government’s pending motions in limine by December 6, 2022. See Dec. 1, 2022 Minute Order.
            Case 1:21-cr-00623-CRC Document 118 Filed 05/15/23 Page 6 of 8




exercise of their strategic judgment. In other words, the Defendant was not pro se at any point

after the government’s motions were filed, and therefore her “constitutional due process rights”

could not have been adversely affected. See Def.’s Mot. at 2, 4. Because the underlying premise

for continuing the hearing is factually inaccurate, the Court should not entertain granting the

motion on this basis. 4

    III.      Defense Counsel Has Had Ample Time to Prepare for Sentencing.

           Post-trial, Niemela decided to change counsel and retain John Pierce of The John Pierce

Law Firm “for sentencing and appeal purposes.” Def.’s Mot. at 2. Mr. Pierce entered his formal

Notice of Appearance, albeit in the wrong case, on February 14, 2023, see United States v.

Niemela et al., 22-cr-25 (APM), ECF No. 50, less than a month after the jury convicted Niemela

on all counts. United States v. Eckerman, et al., 21-cr-623 (CRC), ECF No. 95. After being

advised by the government via email of the error, Mr. Pierce entered his appearance in the instant

case that same day, ECF No. 99, three-and-a-half months before sentencing, which is scheduled

for May 31, 2023. Feb. 6, 2023 Minute Order.

           On February 26, 2023, defense counsel emailed government counsel to seek their

position on a late filing of a motion for a new trial. The government responded the next day that

it opposed the motion both substantively and as untimely. Niemela never filed the motion.

           Transcripts of Niemela’s jury trial became available on the docket on March 2, 2023. See

ECF Nos. 106-109. The United States Probation Office (“Probation”) filed its draft pre-

sentencing investigation report (“Draft PSR”) on April 26, 2023, noting that Niemela was

“waiving the presentence interview,” and that defense counsel would “draft their own



4
 Additionally, any alleged defects related to Niemela’s claimed inability to respond to the
motions in limine and present a defense are a subject for habeas proceedings, not good cause to
delay sentencing.
          Case 1:21-cr-00623-CRC Document 118 Filed 05/15/23 Page 7 of 8




presentence report.” Draft PSR, ECF No. 116 ¶ 72. Probation further stated that Niemela had

not returned any forms for release of information that typically form part of Probation’s

presentence investigation. Id. Despite her statement to Probation, Niemela has not filed her own

version of a presentence report.

         In short, Ms. Niemela’s current counsel has had this case for three months. The public

dockets for the relevant cases have been available to him for the same amount of time, since he

entered his Notice of Appearance on February 14, 2023. He thus has had plenty of time to

understand the procedural record and review the transcripts of the four-day jury trial, which

became available to him over two months ago, on March 2, 2023.

         Moreover, while the government does not contest that Mr. Pierce may have had some

involvement with the Proud Boys trial handled by his partner, Roger Roots, Mr. Pierce did not

appear in that case and no information has been presented to the Court to suggest that Mr. Pierce

could not and cannot now prepare sufficiently to address the sentencing guidelines and § 3553(a)

factors by May 24, 2023, when sentencing memoranda are due in this misdemeanor case.

Accordingly, even from a purely logistical standpoint, Niemela has presented no reasonable basis

to continue her sentencing hearing.

   IV.      Conclusion

         For the foregoing reasons, the Court should deny the Defendant’s Motion to Postpone

Sentencing Hearing, ECF No. 117.

                                              Respectfully submitted,
                                              MATTHEW M. GRAVES
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Case 1:21-cr-00623-CRC Document 118 Filed 05/15/23 Page 8 of 8




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